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                       UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF PENNSYLVANIA

                                                  :
                                                  :
    IN RE PHILIPS RECALLED CPAP,                  :     Master Docket: No. 21-MC-1230-JFC
    BI- LEVEL PAP, AND MECHANICAL                 :
    VENTILATOR PRODUCTS                           :     MDL No. 3014
    LITIGATION                                    :
                                                  :
    This Document Relates to the following        :
    Plaintiffs:                                   :
                                                  :
     Case No.         Plaintiff Name              :
     2:22-cv-00032    Sandra Gavidia              :
                                                  :


            Special Discovery Master’s Amended Report and Recommendation and
            Proposed Order Recommending Dismissal of Plaintiff Sandra Gavidia’s
            Personal Injury Claims for Failure to Comply With Discovery Orders1

I.       Background

         Pretrial Order No. 26(b) requires that each Personal Injury Plaintiff “submit a completed

PFS [Plaintiff Fact Sheet], executed Authorizations, and documents responsive to the requests in

the PFS. ”Pretrial Order No. 26(b) § 2 (ECF No. 2275) (“Pretrial Order No. 26(b)”); see also id.

§ 7 (requiring that “[a]ny PFS . . . submission must be substantially complete” and outlining

requirements for a complete PFS). Pretrial Order No. 26(b) further governs the process and

timetable for completing and submitting PFSs, the mechanisms for curing deficiencies, and the

processes for relief for any Personal Injury Plaintiffs who have overdue discovery. Id. at §§ 5 and

12. Rule 41(b) permits a defendant to move to dismiss an action “[i]f the plaintiff fails to prosecute



1       This amends the original Report and Recommendation (ECF No. 2560) by adding a
recommendation with regard to the consequences to Plaintiff Gavidia in the event she refiles a
Complaint against Defendants (see page 4 below). The Parties are in agreement with this
revision.
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or to comply with . . . a court order. ” Fed. R. Civ. P. 41(b). Rule 37 provides that failure to obey

an order to provide or permit discovery may justify dismissal of the action or proceeding or default

judgment against the disobedient party. Fed. R. Civ. P. 37(b)(2).

       At issue is one individual Personal Injury Plaintiff identified below who has, to date, failed

to cure the deficiency(ies) identified with their PFS.


        Case No.            Plaintiff Name      Law Firm Representing Plaintiff
        2:22-cv-00032       Sandra Gavidia      Schneider Wallace Cottrell Konecky LLP

       In accordance with Pretrial Order No. 26(b), this Personal Injury Plaintiff (“the Deficient

Plaintiff”) was provided notice of the deficiencies in their PFS via MDL Centrality. The 21-day

window to respond to the deficiency notice then expired. On December 8, 2024, Defendants

Philips RS North America LLC, Koninklijke Philips N.V., Philips North America LLC, Philips

Holding USA, Inc., and Philips RS North America Holding Corporation (collectively, the “Philips

Defendants”) provided the Deficient Plaintiff a second notice of their continued PFS deficiencies

pursuant to Pretrial Order No. 26(b), § 12, and informed them that Philips Defendants would

engage in motion practice, including possibly seeking dismissal, should they fail to cure the

outstanding deficiencies by January 2, 2024.

       On January 11, 2024, the Philips Defendants submitted a letter motion to the undersigned

Discovery Special Master seeking an Order Recommending Dismissal of Claims of Certain

Personal Injury Plaintiffs for failure to submit substantially complete Plaintiff Fact Sheets pursuant

to Pretrial Order No. 26(b) and Federal Rules of Civil Procedure 37(b)(2) and 41(b). Certain

individual Plaintiffs and Plaintiffs’ Leadership responded by January 26, 2024, and the Philips

Defendants submitted a reply on January 31, 2024. Counsel for the Deficient Plaintiff at issue did

not respond to the Philips Defendants’ letter motion.


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       On February 16, 2024, the Discovery Special Master issued a directive (sent via email to

the address provided by both defense counsel and Plaintiffs’ Leadership, which also was uploaded

to each plaintiff’s MDL Centrality profile) to certain Personal Injury Plaintiffs, including the

Deficient Plaintiff, to cure all outstanding PFS deficiencies through MDL Centrality or show

cause, in the form of a response addressed and submitted to the Discovery Special Master and

certain defense counsel, as to why the Discovery Special Master should not recommend that their

claims be dismissed. The Personal Injury Plaintiffs at issue were informed that failure to comply

with the directive may result in the Discovery Special Master recommending that the Court grant

Philips Defendants’ letter motion requesting dismissal of their individual action(s) pursuant to

Federal Rule of Civil Procedure 37(b)(2) and Federal Rule of Civil Procedure 41(b), for failure to

prosecute their matters, failure to comply with a valid and express Court order and failure to

respond to discovery.

       To date, the Deficient Plaintiff still has outstanding PFS deficiencies, failed to respond to

Philips Defendants’ letter motion, and failed show cause to the Discovery Special Master why

their claims should not be recommended for dismissal pursuant to the February 16, 2024 directive.


II.    Recommendation

       Applying the above to the Philips Defendants’ request for dismissal, this Discovery Special

Master recommends that the Deficient Plaintiff’s claims be dismissed, without prejudice, pursuant

to Federal Rule of Civil Procedure 37(b)(2) and Federal Rule of Civil Procedure 41(b), for failure

to prosecute their matters and to comply with a valid and express Court order.

       The Philips Defendants requested that dismissal be with prejudice. The Special Master

recommends dismissal without prejudice for two primary reasons. First, in similar situations

involving other Personal Injury Plaintiffs’ failures to timely complete a PFS, the Court dismissed

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their claims without prejudice (see ECF nos. 2553-2557). Second, no evidentiary record has been

established that would enable the Special Master to assess and weigh all the factors for determining

whether dismissal should be with prejudice set forth in Poulis v. State Farm Fire & Cas. Co., 747

F.2d 863, 868 (1984).2

         This Discovery Special Master also recommends that, if Plaintiff Gavidia chooses to refile

a complaint against Defendants, that she be required to serve a substantially complete Plaintiff

Fact Sheet via MDL Centrality within fourteen (14) days of filing a complaint commencing a new

action, if any, or else be subject to dismissal with prejudice. Immediately upon expiration of the

foregoing fourteen-day Plaintiff Fact Sheet deadline, Defendants may file a motion to dismiss, or

in the alternative, to show cause why the case should not be dismissed with prejudice.



                                                           Respectfully submitted by:



    Dated: March 26, 2024
                                                           Carole Katz (PA Id. No. 43911)
                                                           Special Discovery Master

                                                           Carole Katz, LLC
                                                           6448 Melissa Street
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       The Poulis factors are: (1) the extent of the party’s personal responsibility; (2) prejudice to the
adversary; (3) a history of dilatoriness; (4) whether the party’s conduct was willful or in bad faith;
(5) alternative sanctions; and (6) the meritoriousness of the plaintiff’s case.
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  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA

 IN RE: PHILIPS RECALLED CPAP,                  )
 BI- LEVEL PAP, AND MECHANICAL                  )
 VENTILATOR PRODUCTS,                           )
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                                                )
                                                     Master Docket No. 21-mc-1230-JFC
 This Document Relates to the following         )
                                                     MDL No. 3014
 Plaintiffs:                                    )
                                                )
  Case No.           Plaintiff Name             )
  2:22-cv-00032      Sandra Gavidia             )


                                    [PROPOSED] ORDER

       AND NOW, this ___ day of _______, 2024, it is hereby ORDERED that plaintiff’s claims

are dismissed without prejudice for failure to prosecute their claims and failure to comply with

an express Court order after repeated opportunities to do so.

       It is further ORDERED that, if Plaintiff Gavidia chooses to refile a complaint against

Defendants, then she shall serve a substantially complete Plaintiff Fact Sheet via MDL Centrality

within fourteen (14) days of filing a complaint commencing a new action, or else be subject to

dismissal with prejudice. Immediately upon expiration of the foregoing fourteen-day Plaintiff Fact

Sheet deadline, Defendants may file a motion to dismiss, or in the alternative, to show cause why

the case should not be dismissed with prejudice.




                                                    Joy Flowers Conti, Judge
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 26th of March, 2024, I electronically filed the foregoing Special

Discovery Master’s Amended Report and Recommendation and Proposed Order Recommending

Dismissal of Plaintiff Sandra Gavidia’s Personal Injury Claims for Failure to Comply with

Discovery Orders, using the CM/ECF system which will send notification of such filing to all

counsel of record.




                                                   Carole Katz, Special Discovery Master
